                                                        IT IS ORDERED
                                                        Date Entered on Docket: July 23, 2018




                                                        ________________________________
                                                        The Honorable David T. Thuma
                                                        United States Bankruptcy Judge
______________________________________________________________________




                           UNITED STATES BANKRUPTCY COURT
                                DISTRICT OF NEW MEXICO

  In re:

  LAS UVAS VALLEY DAIRIES,                                                 No. 17-12356-t11
  a New Mexico General Partnership

           Debtor.


              ORDER APPROVING FINAL FEE APPLICATION FOR COUNSEL
                     FOR UNSECURED CREDITORS COMMITTEE

          THIS MATTER coming on for consideration on the Final Fee Application for Counsel
  for Unsecured Creditors Committee [Doc. 466] (the “Application”), the Court having considered
  the matter, and FINDING that the Application was filed herein on June 26, 2018, that Notice of
  the Application [Doc. 467] and of the fifteen-day (plus three days for mailing of the Notice)
  deadline to object thereto was served on all parties on the mailing matrix maintained by the
  Court Clerk for this proceeding on June 26, 2018, that the deadline to object was July 18, 2018,
  that no objections have been filed, that Counsel for the Unsecured Creditors Committee and the
  United States Trustee have agreed to a reduction of $4,637.55 (representing legal fees of
  $4,314.00 and tax on the same of $323.55) of the fees sought in the Application, and that good
  cause exists to grant the Application.


                                                 1

  Case 17-12356-t11      Doc 483     Filed 07/23/18    Entered 07/23/18 16:21:04 Page 1 of 3
       IT IS NOW THEREFORE ORDERED as follows:

       1. The Application is hereby approved in all respects, subject to a total reduction of
$4,637.55 of the legal fees sought in the Application.

       2. The Modrall Sperling Law Firm is hereby allowed, as an administrative expense of the
chapter eleven estate, the sum of $251,411.03, consisting of Legal fees of $225,378.22; Costs of
$9,306.22; and Taxes of $16,726.59. Of the amount allowed to be paid to The Modrall Sperling
Law Firm, $121,356.71 has already been paid as compensation for its fees, costs, and tax
incurred, leaving an unpaid balance of $130,054.32.

        3. The Modrall Sperling Law Firm is authorized to apply the $15,000.00 retainer in its
trust account to this Application, and the Liquidating Trustee is directed to pay the remaining
unpaid balance of $115,054.32 approved herein.

                                         ###End of Order###


Submitted by:

MODRALL, SPERLING, ROEHL, HARRIS
    & SISK, P.A.

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Stipulating Party:
ILENE J. LASHINSKY
UNITED STATES TRUSTEE

By:    Approved telephonically
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                                              2
Case 17-12356-t11      Doc 483     Filed 07/23/18    Entered 07/23/18 16:21:04 Page 2 of 3
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                                                3
Case 17-12356-t11         Doc 483    Filed 07/23/18   Entered 07/23/18 16:21:04 Page 3 of 3
